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 8                             UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RALPH COLEMAN, et al.,                               No. 90-cv-0520 KJM DB P
12                             Plaintiffs,                 ORDER AND
13           v.                                            ORDER TO SHOW CAUSE
14
      GAVIN NEWSOM, et al.,
15
                               Defendants.
16

17          The court held a status conference in this matter on March 28, 2024 to address issues

18   related to completion of the data remediation project following the Special Master’s informal

19   report to the court that the project would not be completed by the March 31, 2023 deadline set

20   most recently by the court. See generally Feb. 1, 2024 Order, ECF No. 8121. At the status

21   conference, in response to the court’s questions, defendants estimated an additional two years will

22   be needed to complete data remediation if the remediation project remains on its current path.

23   I.     STEPS IN THE DATA REMEDIATION PROCESS

24          In May 2022, in accordance with the court’s direction, see Apr. 29, 2022 Minute Order,

25   ECF No. 7541, then-California Department of Corrections and Rehabilitation (CDCR) Secretary

26   Kathleen Allison filed a declaration including a template for the six step data remediation process

27   she and the Special Master agreed to. See Decl. of Allison at 2 and Ex. A, ECF Nos. 7556, 7556-



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1    1.1 These steps are as follows:

2           Step 1: DOCUMENTATION

3           CDCR Mental Health creates preliminary documentation for the indicator and its
4           business rules. This documentation includes a list of business requirements that the
5           indicator intends to measure and then describes how the software (or an audit) will
6           operate to achieve this.

7           Step 2: VALIDATION

 8          Stakeholders then validate the indicator’s documentation (in the context of business
 9          requirements and workflows it is intended to measure) to ensure its design will
10          create transparent and accurate data. When issues are discovered, stakeholders work
11          by consensus to correct the deficiency or use the agreed dispute resolution process.
12          Stakeholder validation takes place through written comments provided by the
13          Special Master’s team and plaintiffs along with detailed discussion during BRMR
14          meetings.

15          Step 3: APPROVALS

16          The agreed-upon documentation approved by all stakeholders including the Special
17          Master’s data expert then enters CDCR’s current change management process for
18          approval by CDCR Mental Health.

19          Step 4: PROGRAMMING

20          The indicator is programmed according to the validated documentation by CDCR
21          programmers under the supervision of MH.

22          Step 5: VERIFICATION

23          Software tests are created to confirm that the indicator is working as designed on an
24          ongoing basis. These tests are created by a separate team of CDCR programmers
25          working with CDCR subject matter experts in order to verify that the CDCR’s data
26          products (including row-level “case data” and summary statistics) are correctly
27          generated per their previously validated designs.

28          Remediation of Individual Indicators

29          Finally, when indicators and their business rules complete the five-step validation
30          and verification process, and there are no outstanding stakeholder disputes, the
31          Special Master’s data expert marks them as remediated and communicates the same
32          to the date remediation stakeholders.[Footnote omitted.]


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              In this order citations to page numbers in documents filed in the Court’s Electronic Case
     Filing (ECF) system are to the page number assigned by ECF located in the upper right hand
     corner of the page.

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 1          Data System Certification

 2          In order for the data remediation process to be completed, the individual remediated
 3          indicators must operate in a system that is transparent and has adequate version
 4          control to enable users to easily track and compare current documentation to prior
 5          versions. This will provide for the durability of the gains made during the
 6          remediation endeavor. The Special Master’s data expert has committed to reviewing
 7          and certifying that such processes are in place so that the significant achievements
 8          of the data remediation process are durable and that the Court can rely on the
 9          accuracy of defendants’ mental health-related data after the remediation process has
10          completed.
11   Special Master’s Report on Data Remediation at 28-30, ECF No. 7863.2

12   II.    CURRENT STATUS OF DATA REMEDIATION

13          Although the specific number may vary slightly, the Special Master and the parties

14   generally agree there are approximately 267 indicators proceeding through the data remediation

15   process. The Special Master’s data expert has marked 101 of those as remediated.

16          Of the remaining approximately 166 indicators, the parties agree one group of 41 has

17   proceeded through all five steps of the data remediation process and are with the Special Master’s

18   expert to confirm whether any stakeholder disputes remain and then mark as remediated when

19   such outstanding disputes, if any, are resolved.

20          The parties also agree a second group of 38 indicators is covered by the court’s

21   December 5, 2023 Order, ECF No. 8078. By that order, the court required defendants to include

22   a “patient-wise methodology” to report data and summary statistics for an identified subset of

23   continuous quality improvement tool (CQIT) indicators. ECF No. 8078 at 3-4.3 At hearing, the

24   parties confirmed the court’s understanding that only one of these 38 indicators has passed the

25   first step in the data remediation process.

26          At hearing the court probed the status of the foregoing two groups, representing a total of

27   79 outstanding indicators, and also discussed with the parties obstacles to completion of data

28   remediation.

            2
              Neither party filed objections to this Report.
            3
              When the court issued the December 5, 2023 order, the record suggested there were
     twenty-five key CQIT indicators affected by the addition of this methodology. See ECF No. 8078
     at 3. The court accepts the representation that number is now thirty-eight.

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 1   III.    NEXT STEPS
 2           A.      The Forty-One Indicators Verified Through Step Five

 3           As noted above, all parties agree 41 indicators have been verified through Step Five of the

 4   data remediation process and are now with the Special Master for final review and, as

 5   appropriate, marking as remediated. The court will require the Special Master to take all steps to

 6   complete the process of marking these indicators as remediated no later than April 25, 2024. If

 7   the Special Master believes it is absolutely necessary to meet this deadline, he may postpone

 8   work on other indicators in the Business Rules and Methodology Review meetings and set such

 9   additional interim deadlines as may be required so that he will meet the deadline set in this order.
10   The court will accept an oral report from the Special Master at the April 26, 2024 status

11   conference that these 41 indicators are marked as remediated.

12           B.      The Thirty-Eight Patient-Wise Indicators

13           The parties are in general agreement that only one of the 38 patient-wise indicators has

14   completed the first step of the five-step process outlined above and still needs to proceed through

15   the remaining four steps, and that the other 37 patient-wise indicators still need to move through

16   all of that five-step process. The court ordered development of these indicators in accordance

17   with the Special Master’s proposal, see generally ECF No. 8078; there should be minimal, if any,

18   disputes as these indicators now proceed through the data remediation steps. Nonetheless, at

19   hearing, defendants expressed uncertainty about what precisely is required to accurately
20   document, validate, program and verify these 38 indicators, and suggested there is a “learning

21   curve” for their technical staff in this process.

22           In its original order following hearing on the whistleblower reports that led to the data

23   remediation process, the court observed that Dr. David Leidner, who at the time worked at CDCR

24   Headquarters, has a significant skill set that “could continue to play an important role both in”

25   data remediation “and at CDCR Headquarters more generally.” Dec. 17, 2019 Order at 19, ECF

26   No. 6427; see also ECF No. 7541 (court anticipates clarification of issues related to data

27   remediation “will be achieved in discussions involving Special Master Lopes, Secretary Allison,

28   Undersecretary Toche, Dr. Daniel Potter, and Dr. David Leidner.”) The court believes significant

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1    efficiencies in moving these 38 indicators through the data remediation process may be achieved

2    if the court (1) delegates to the Special Master responsibility to ensure these 38 indicators move

3    through all five steps of the data remediation process so he can mark them as remediated no later

4    than May 31, 2024 and (2) directs defendants to make Dr. Leidner available to work directly with

5    the Special Master as needed to meet this deadline, together with such CDCR mental health staff

 6   as Dr. Leidner may identify to complete necessary tasks.4 Good cause appearing, the parties will

 7   be granted seven days from the date of this order to show cause in writing, if any they have, why

 8   the court should not make these orders.

 9           C.      Additional Issues Affecting Timely Remediation

10           At hearing, the court discussed with the parties two substantive areas affecting data

11   remediation: (1) proposed new regulations for Restricted Housing Units (RHUs) and the parties’

12   dispute over the effect, if any, of the court’s February 7, 2022 Order, ECF No. 7456, on

13   defendants’ obligation to inform the court to the extent such regulations may replace certain
14   chapters of the Program Guide, a primary remedial plan in this action; and (2) the parties’ dispute

15   over the scope of the court’s August 23, 2023 Order, ECF No. 7924, regarding minimum

16   treatment standards in the CDCR Psychiatric Inpatient Programs (PIPs).

17           Plaintiffs agreed to bring a motion for clarification of the August 23, 2023 order within

18   twenty-one days. That will be the order of the court. Defendants will be directed to file

19   opposition, if any they have, within fourteen days thereafter, and plaintiffs’ reply will be due

20   seven days thereafter. The motion will be submitted without hearing unless the court orders

21   otherwise.

22   /////

             4
               The court is aware of defendants’ preferred approach, expressed by Dr. Cartwright at
     hearing, under which all CDCR staff assigned to this project learn the necessary technical steps as
     the work progresses. While the court applauds Dr. Cartwright’s inclination to ensure the entire
     quality assurance team has the same knowledge base and skillset, that inclination appears to be
     contributing to the slowdown in data remediation. The Special Master is responsible for guiding
     the data remediation process, not for training CDCR’s quality assurance team. This is
     particularly true in light of former CDCR Secretary Allison’s representation “that the staff
     assigned to work on data remediation including its technical writers are sufficient in number and
     qualifications to complete data remediation before December 2023.” ECF No. 7556 at ⁋ 6.

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 1           At hearing, the parties signaled general agreement with the contours of the proposed RHU

 2   regulations, which defendants represent will go into effect in April 2024. As noted, the dispute

 3   centers on the impact of the court’s February 7, 2022 order on defendants’ obligation to inform

 4   the court to the extent they intend such regulations to replace certain chapters of the Program

 5   Guide, a primary remedial plan in this action. In order to avoid any potential conflict between

 6   defendants’ obligations to this court and state regulations, as well as to avoid duplicative or

 7   redundant efforts in the data remediation process, the court will resolve this dispute

 8   expeditiously.5 Good cause appearing, the parties will take all steps necessary to file a joint

 9   motion for clarification of the February 7, 2022 order setting forth their respective positions,

10   accompanied by a stipulation of counsel setting forth their agreements with respect to the

11   substantive provisions of the RHU regulations. The parties shall include in the stipulation a joint

12   representation of what they understand to be the position of the Special Master with respect to

13   these regulations.   These documents shall be filed on or before April 15, 2024 to enable the court

14   to resolve the motion before the end of April 2024.

15   IV.     CONCLUSION

16           Defendants’ projection at the status conference that it will require an additional two years

17   to complete data remediation, on its current path, is unacceptable. The court finds the deadlines

18   and processes outlined in this order to complete remediation of 79 outstanding indicators will, if

19   implemented promptly, aid in efficient earlier completion of a significant portion of the data

20   remediation remaining. The court will consider the status of remediation of these indicators in

21   April and May respectively to assess whether it needs to issue further orders to ensure timely

22   completion of remediation. If sufficient progress is not made soon, as it signaled at the status

23   conference, the court may have no choice but to retain an outside contractor to complete the

24   necessary remedial work.
25   /////

             5
              As of November 1, 2023, CDCR had implemented the new RSUs. See Restricted
     Housing - Division of Adult Institutions (DAI) (ca.gov) (last checked 3/30/24). At hearing,
     defendants suggested the final RHU regulations are scheduled to go into effect in April 2024 but
     did not provide an exact date.

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 1         In accordance with the above, IT IS HEREBY ORDERED that:

 2               1.     The Special Master shall take all steps necessary so that, not later than
 3                      April 25, 2024, 41 indicators described in this order are marked as
 4                      remediated. The court will accept an oral report from the Special Master at
 5                      the April 26, 2024 status conference that these 41 indicators are marked as
 6                      remediated.
 7               2.     Within seven days from the date of this order the parties shall show cause
 8                      in writing if any they have why the court should not (1) delegate to the
 9                      Special Master responsibility to ensure the 38 patient-wise indicators move
10                      through all five steps of the data remediation process so he can mark them
11                      as remediated by May 31, 2024 and (2) direct defendants to make
12                      Dr. Leidner available to work directly with the Special Master as needed to
13                      meet this deadline and to make equally available such CDCR mental health
14                      staff as Dr. Leidner may identify to complete necessary tasks.
15               3.     On or before April 18, 2024, plaintiffs shall file a motion for clarification of
16                      the court’s August 23, 2023 order. Defendants’ response shall be filed on
17                      or before May 2, 2024, and plaintiffs’ reply shall be filed on or before May
18                      9, 2024. The motion will be submitted without oral argument absent
19                      further order of the court.
20               4.     On or before April 15, 2024, the parties shall file a joint motion for
21                      clarification of the court’s February 7, 2022 order setting out their
22                      respective positions together with a stipulation that sets forth their
23                      agreements with respect to the substantive provisions of the pending
24                      Restricted Housing Unit regulations and a joint representation of their
25                      understanding of the position of the Special Master with respect to the
26                      substance of these regulations. Absent further order of the court, the
27                      motion will be submitted without oral argument upon the filing of the
28                      motion and stipulation required by this order.

29         IT IS SO ORDERED.

30   DATED: April 1, 2024.




                                                  7
